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                           UN ITED STA TES DIST RICT CO UR T
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 UNITED STATES OFAM ERICA,                     )
                                               )
                     Plaintiff,                )
                                               )
        v.                                     )         2:08-CR-309-JCM (PAL)
                                               )
 M IKAYEL AKOPYAN,                             )
                                               )
                     Defendant.                )
                                  O RD ER O F FO RFEIT UR E
        O n January 18, 20 1l, the U nited States subm itted electronically a proposed O rder of

 ForfeiturepursuanttoFed,R.Crim.P.32.2(b)(1)and(2),andsen'
                                                         edcounselforthedefendantwith
 copiesoftheOrder.//110. No objection to the entry oftheOrderofForfeiture wasfiled bythe
 defendant. On Janumy 24,2011,this Courtdenied the Order of Forfeiture.#111. M IKAYEL

 AKOPYAN issubjecttotheforfeitureofacriminalforfeittlremoneyjudgmentof$124,512.81in
 U nited StatesCurrency,
        A ccordingly,this Courtfinds that M IK A YEL A K O PY AN shallpay a crim inalforfeiture

 moneyjudgmentof$124,512.81inUnited StatesCurrency,pursuanttoFed.R.Crim.P.32.2(b)(1)
 and(2$ Title18,UnitedStatesCode,Section98l(a)(l)(C)andTitle28,UnitedStatesCode,Section
 2461(c);Title18,UnitedStatesCode,982(a)(2)(A);andTitlezl,UnitedStatesCode,Section853(p).
'




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     1          THEREFORE,IT ISHEREBY ORDERED,ADJUDGED,AND DEcltEED thattheUnited

     2 Statesrecoverfrom M IKAYEL AKOPYAN acriminalforfeituremoneyjudgmentintheamountof
     3 $124,512.81inUnitedStatesCurrencypursuanttoFed.R.Crim.P.32.2(b)(4)(A)and(B);Title 18,
     4 UnitedStatesCode,Section981(a)(1)(C)andTitle28,UnitedStatesCode,Section2461(c);Titlel8,
     5 United StatesCode,982(a)( )(A);andTitle21,United StatesCodesSection 853(p).
     6          DATED this        day of                   ,20l1,
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    211             1,HeidiSkillin,certifythatthefollowingindividualswereservedwithcopiesoftheOrder
      1
    31 ofForfeitureon April15, 2011,by thebelow identified method ofservice:
    4               Electronic Filing
    5               M ichaelW .Sanft
                    SanftLaw
    6               520 South Fourth Stree
                    Las Vegas,N V 89101
    7               sanRlawgroup@ mac.com
                    Counselforaz
                               lr>'
                                  ltpr?iMatevosyan
     8
                    Jonathan Powell
    9               Patti,Sgros& Lewis
                    720 South Seventh Street,Third Floor
    10              Las Vegas,N V 89101
                    jpowell.law@ gmail,com
    11              CounselforMikayelAkopyan
    12              O svaldo E.Fum o
                    O svaldo E.Fum o,Chtd
    13              1212 Casino CenterBoulevard
                    Las Vegas,N V 89104
    14              ozzie@fumolaw.com
                    CounselforGerganaHristova
    15
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    16                                        /s/H eidiskillin
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    17 ,                                      Forfeiture SupportA ssociate Clerk
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